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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
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Special Counsel to the Plan Administrator

In re:                                                             Chapter 11

BED BATH & BEYOND, INC., et al.,1                                  Case No. 23-13359 (VFP)

                                  Debtor.                          (Jointly Administered)


Michael Goldberg, as Plan Administrator for
20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &
Beyond Inc.),2
                                       Plaintiff,
                                                                  Adv. No. 24-01224-VFP
v.

Twilio Inc.,
                                             Defendant.

                  NOTICE OF DISMISSAL OF ADVERSARY PROCEEDING




1
 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
650 Liberty Avenue, Union, New Jersey 07083.
2
  Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which was
filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly known
as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833 DOS ID
315602].



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       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Bankruptcy Procedure 7041

and Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily dismisses this action in

its entirety with prejudice. An answer has not been filed.


Dated: August 9, 2024
                                         ASK LLP

                                         By: /s/ Brigette McGrath
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                                         -and-

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